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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF RHODE ISLAND


Honeywell International Inc.,

      Plaintiff,
                                                Case No. 1:17-cv-510
             v.

Eyelation, LLC,                                  JURY TRIAL DEMANDED

      Defendant.

                                   COMPLAINT

      Plaintiff Honeywell International Inc. (“Honeywell”), for its Complaint

against Defendant Eyelation LLC (“Eyelation”), states as follows:

                           NATURE OF THE ACTION

      1.      Honeywell and Eyelation have an exclusive distributor relationship

for the marketing and sale of Honeywell-branded protective eyewear through

automated kiosks that are manufactured by Eyelation and placed at industrial

worksites. Under that contract and related agreements, Eyelation agreed to make

certain payments, issue certain credits, and apply certain discounts for the benefit

of Honeywell. Eyelation also agreed not to sell any products or services into the

industrial market for safety products unless through Honeywell or with

Honeywell’s prior approval. Eyelation has breached these contracts by failing to

make payments, issue credits, and apply discounts as contemplated by the parties,


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and by selling products in the industrial channel in violation of its exclusivity

obligations to Honeywell. Honeywell is entitled to judgment against Eyelation for

money damages in excess of $1.2 million and an order requiring Eyelation to abide

by its exclusivity agreement.

                                     PARTIES

      2.     Honeywell is a corporation that is organized and existing under the

laws of Delaware with its principal place of business in New Jersey.

      3.     Eyelation is a limited liability company. On information and belief,

Eyelation has a single member who resides in Illinois.

                           JURISDICTION AND VENUE

      4.     This Court has subject-matter jurisdiction under 28 U.S.C. § 1332,

because complete diversity of citizenship exists between Honeywell and the

members of Eyelation, and the amount in controversy exceeds the sum of $75,000,

exclusive of interests and costs.

      5.     This Court has personal jurisdiction over the parties because the

Honeywell business unit tasked with carrying out the distributor agreement is

located primarily in Rhode Island and Eyelation has sold kiosks to, had relevant

communications with, and failed to make payments, credits, and discounts to a

Honeywell business unit in Rhode Island.




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      6.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2), because

a substantial part of the events or omissions giving rise to this action occurred in

this District, as described in Paragraph 5 of this Complaint.

                            FACTUAL ALLEGATIONS

      A.     Eyelation’s Breaches of the Distributor Agreement.

      7.     On December 18, 2013, Honeywell, through its Safety Products

Business, and Eyelation entered into a Distributor Agreement (attached as

Exhibit A) for the marketing and sale of Honeywell-branded prescription safety

eyewear through Eyelation-made automated kiosks at industrial worksites.

      8.     Under the Distributor Agreement and related agreements, in relation

to kiosk financing and eyewear orders, Eyelation agreed to make payments, issue

credits, and apply discounts for the benefit of Honeywell.

      9.     Eyelation has failed to make payments, issue credits, and apply

discounts as promised. As a result, it currently owes Honeywell approximately

$912,833, of which $517,534 is past due.

      10.    Also under the Distributor Agreement, Eyelation agreed not to sell

any products or services in the Industrial Channel, as defined in the Distributor

Agreement, unless through Honeywell or with Honeywell’s prior approval.




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      11.   On information and belief, Eyelation has violated that promise by

offering certain “dress” eyewear for sale in the Industrial Channel without

Honeywell’s involvement or consent.

      B.    Eyelation’s Breaches of the Settlement Agreement.

      12.   On December 17, 2013, Honeywell, through its Safety Products

Business, and Eyelation entered into a letter agreement (“Settlement Agreement”)

(attached as Exhibit B) regarding the treatment of previous accounts between

Honeywell and Eyelation.

      13.   Under the Settlement Agreement, Eyelation agreed to make to

Honeywell 24 monthly payments totaling $198,450 and a one-time credit of

$105,000.

      14.   Eyelation has failed to make the payments and issue the credit to

Honeywell that were required by the Settlement Agreement. As a result, it

currently owes Honeywell $303,450.

                             CAUSES OF ACTION

                 Count I – Breach of Contract (Money Due)

      15.   Honeywell restates all previous paragraphs of this Complaint.

      16.   Honeywell and Eyelation entered into the Distributor Agreement, the

Settlement Agreement, and other related agreements pursuant to which Eyelation




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agreed to make certain payments, issue certain credits, and apply certain discounts

for the benefit of Honeywell, as specified above.

      17.    Honeywell has performed all material terms of the Distributor

Agreement.

      18.    Eyelation has breached the Distributor Agreement, the Settlement

Agreement, and other related agreements.

      19.    As a direct result of Eyelation’s breaches, Honeywell has been

damaged in an amount in excess of $75,000, and which will be proven at trial.

                  COUNT II – Breach of Contract (Exclusivity)

      20.    Honeywell restates all previous paragraphs of this Complaint.

      21.    Honeywell and Eyelation entered into the Distributor Agreement,

under which Eyelation agreed not to sell any products or services in the Industrial

Channel as specified above.

      22.    Honeywell has performed all material terms of the Distributor

Agreement.

      23.    By selling certain of its products in the Industrial Channel without

Honeywell’s involvement or consent, Eyelation has breached and continues to

breach the Distributor Agreement.

      24.    As a direct result of Eyelation’s breaches, Honeywell has been

damaged in an amount in excess of $75,000, and which will be proven at trial.


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                COUNT III – Specific Performance (Exclusivity)

      25.    Honeywell restates all previous paragraphs of this Complaint.

      26.    Honeywell and Eyelation entered into the Distributor Agreement,

under which Eyelation agreed not to sell any products or services in the Industrial

Channel as specified above.

      27.    Honeywell has performed all material terms of the Distributor

Agreement.

      28.    By selling certain of its products in the Industrial Channel without

Honeywell’s involvement or consent, Eyelation has breached and continues to

breach the Distributor Agreement.

      29.    Honeywell has been and will be irreparably harmed by Eyelation’s

failure to fulfill its exclusivity obligations under the Distributor Agreement.

      30.    Honeywell is entitled to specific performance, compelling Eyelation to

immediately stop offering for sale or selling any of its products or services into the

Industrial Channel, as defined in the Distributor Agreement.

                               PRAYER FOR RELIEF

      WHEREFORE, Honeywell respectfully requests that this Court:

      a.     Enter judgment for Honeywell and against Eyelation for all damages

caused by Eyelation’s wrongful actions;




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      b.    Enter judgment for Honeywell and against Eyelation for specific

performance, compelling Eyelation to abide by its obligations under the

Distributor Agreement;

      c.    Award Honeywell all pre-judgment and post-judgment interest as

allowed by law;

      d.    Award Honeywell its costs and disbursements incurred in this action;

and

      e.    Award Honeywell any other relief as the Court deems just, proper,

and equitable.




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                                         /s/ Robert J. Cavanagh, Jr.
                                         Robert J. Cavanagh, Jr. (#8589)
                                         Blish & Cavanagh, LLP
                                         30 Exchange Terrace, 3rd Floor
                                         Providence, RI 02903
                                         rjc@blishcavlaw.com
                                         Tel: (401) 831-8900
                                         Fax: (401) 751-7542

                                         Attorney for Plaintiff     Honeywell
                                         International, Inc.

                                         Mark L. Johnson
                                         Aaron P. Knoll
                                         Greene Espel, PLLP
                                         222 S. Ninth Street, Suite 2200
                                         Minneapolis, MN 55402
                                         mjohnson@greeneespel.com
                                         aknoll@greeneespel.com
                                         (612) 373-0830

                                         Of counsel for Plaintiff Honeywell
                                         International, Inc.
Dated: November 3, 2017




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